




02-12-474-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


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NO. 02-12-00474-CV

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  In re Ronnie Turner
  
  
  &nbsp;
  
  
  RELATOR
  
 


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ORIGINAL PROCEEDING

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MEMORANDUM
OPINION[1]

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The
court has considered relator’s petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp; Accordingly, relator’s petition for writ
of mandamus is denied.

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PER CURIAM

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PANEL:&nbsp;
LIVINGSTON, C.J., MCCOY and GABRIEL, JJ.

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DELIVERED:&nbsp;
December 5, 2012









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4, 52.8(d).







